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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                    Plaintiff,                CR NO. 17-20595

 v.                                           HON. MARIANNE O. BATTANI

 YOUSEF RAMADAN,

                    Defendant.
                                       /

                    DEFENDANT’S MOTION TO DISMISS
       Yousef Ramadan, by and through his attorney Andrew Densemo of the

 Federal Community Defender office, moves to dismiss the indictment on the basis

 that the government has failed to comply with the Court’s order to provide discovery

 to Mr. Ramadan. In support of this motion, Mr. Ramadan states the following:

       1.    On February 19, 2019, defense counsel sent an email to opposing

 counsel and asked for any photographs which had been taken by the government of

 the interior of the apartment unit where Mr. Ramadan use to reside.

       2.    On February 20, 2019, opposing counsel responded that the requested

 discovery would be hand-delivered on February 21, 2019.
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       3.     On February 21, 2019, opposing counsel delivered the requested

 discovery to defense counsel’s office, in addition to other materials which had not

 previously been turned over to the defense.

       4.     The discovery given to the defense on February 21, 2019, had been in

 the possession of the government for several months prior to defense counsel’s

 request for the material.

       5.     Despite defense counsel’s repeated request for discovery, and the filing

 of several motions to dismiss the indictment based on the government’s failure to

 provide discovery, the government has once again failed to provide discovery in a

 timely fashion, to Mr. Ramadan’s detriment. The photographs would have been

 useful in Mr. Ramadan’s initial bond hearing to rebut arguments by the government

 that he endangered others when he allegedly discharged a firearm from his apartment

 window. The additional discovery would have been used to support the motions

 previously filed by Mr. Ramadan. The government does not have the right to decide

 what discovery information is important or not important to Mr. Ramadan or his

 case. The government’s obligation is not only to turn over material and impeachment

 evidence; it is to do so at a time when it may allow counsel meaningfully to prepare

 for trial, particularly in complex, fact-specific cases. See United States v. Minsky,

 963 F.2d 870 (6th Cir. 1992) (quoting with approval United States v. Salerno, 937

 F.2d 797, 807(2nd Cir. 1991) (“To say that the government satisfied its obligation

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 under Brady by informing the defendants of the existence of favorable evidence,

 while simultaneously ensuring that the defendants could neither obtain nor use the

 evidence, would be nothing more than a semantic somersault.”). Since the requested

 information was not disclosed to defendant promptly, the government has violated

 Mr. Ramadan’s constitutional rights to due process, to present a defense, to

 compulsory process, and to effective assistance of counsel.

        6.     As a result of his continued detention, Mr. Ramadan has been unable to

 effectively assist his attorneys. Mr. Ramadan has been subjected to limited access

 to his discovery at the Federal Detention Center. There are four computers which

 have to be shared by over 300 inmates. There is a great deal of electronic discovery

 in this case that Mr. Ramadan cannot view because of the limitations and restrictions

 that he is subject to at the Detention Center. These restrictions have become even

 more burdensome since the assaults and homicide that took place recently. Mr.

 Ramadan has been denied access to the law library on multiple occasions in violation

 of his right to do so.

        7.     Mr. Ramadan sought the government’s concurrence. The Assistant

 U.S. Attorneys do not concur in the relief requested.

        WHEREFORE, based on the government’s failure to comply with this Court’s

 orders to provide the defendant with discovery, and Mr. Ramadan’s inability to




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 review his discovery at the detention center, we respectfully move to dismiss the

 indictment, with prejudice.

                                      Respectfully submitted,

                                      FEDERAL COMMUNITY DEFENDER
                                      EASTERN DISTRICT OF MICHIGAN


                                      s/Andrew Densemo
                                      ANDREW DENSEMO (P37583)
                                      Attorney for Defendant
                                      613 Abbott Street, 5th Floor
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                                      (313) 967-5829


 Dated: March 25, 2019




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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                     Plaintiff,                 CR NO. 17-20595

 v.                                             HON. MARIANNE O. BATTANI

 YOUSEF RAMADAN,

                     Defendant.
                                          /

       BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

      The defense re-alleges the factual representations in its Motion to Dismiss.

 A.     The Remedy for Violation of Discovery Requirements

        Under Rule 16, where the Government fails to comply with its discovery

 obligations, this Court has broad discretion to “enter any . . . order that is just under

 the circumstances.” Fed. R. Crim. P. 16(d)(2)(D). “In determining an appropriate

 sanction, the court should consider: (1) the reasons for the government's failure to

 disclose, including any bad faith on the part of the government; (2) the extent to

 which the defendant is prejudiced by the failure to disclose; and (3) the feasibility of

 curing the prejudice by granting a continuance.” 35 Geo. L.J. Ann. Rev. Crim. Proc.

 203, 346-49 (collecting cases).
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       Federal Rule of Criminal Procedure 16(a) provides in part that the government

 must disclose, on defendant's request, documents and objects that are “within the

 government's possession, custody, or control” and material to the defense. Fed. R.

 Crim. P. 16(a)(1)(E). Under Rule 16, the government has a “continuing duty to

 disclose,” meaning that it must turn over to the defense any required materials that

 arise after a discovery request. Fed. R. Crim. P. 16(c). Where a party fails to comply

 with Rule 16, the court may, among other things, prohibit that party from introducing

 a particular piece of evidence or “enter any other order that is just under the

 circumstances.” Fed. R. Crim. P. 16(d)(2).

       In addition to Rule 16(a), the government in a criminal case must also honor

 the defendant’s constitutional right to discovery. In Brady v. Maryland, 373 U.S. 83

 (1963), the Supreme Court held that due process requires the government to turn

 over to the defense evidence that is material to guilt or punishment. See id. at 87.

 Recently, the Supreme Court summarized the Brady doctrine as follows:

      In Brady, this Court held “that the suppression by the prosecution of
      evidence favorable to an accused upon request violates due process where
      the evidence is material either to guilt or to punishment, irrespective of
      the good faith or bad faith of the prosecution.” 373 U.S. at 87. We have
      since held that the duty to disclose such evidence is applicable even
      though there has been no request by the accused, United States v. Agurs,
      427 U.S. 97, 107 (1976), and that the duty encompasses impeachment
      evidence as well as exculpatory evidence, United States v. Bagley, 473
      U.S. 667, 676 (1985). Such evidence is material “if there is a reasonable
      probability that, had the evidence been disclosed to the defense, the result



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      of the proceeding would have been different.” Id. at 682; see also Kyles
      v. Whitley, 514 U.S. 419, 433-434 (1995). Moreover, the rule
      encompasses evidence “known only to police investigators and not to the
      prosecutor.” Id. at 438. In order to comply with Brady, therefore, “the
      individual prosecutor has a duty to learn of any favorable evidence known
      to the others acting on the government's behalf in this case, including the
      police.” Kyles, 514 U.S. at 437.

 Strickler v. Greene, 527 U.S. 263, 280-81 (1999).

       The Supreme Court also stated that “[t]here are three components of a true

 Brady violation: [1] The evidence at issue must be favorable to the accused, either

 because it is exculpatory, or because it is impeaching; [2] that evidence must have

 been suppressed by the State, either willfully or inadvertently; and [3] prejudice must

 have ensued.” Id. at 281-82.

       Here, the Government’s failure to disclose the requested evidence is

 inexcusable. This Court ordered the government to provide the requested materials

 to defendant but they have disregarded the defendant’s demand for the court ordered

 information. The government’s decision to disregard their obligations under the

 Standing Order for Discovery, Rule 16 and Brady, Court’s unambiguous Orders in

 this instance has come at a great cost to Mr. Ramadan. He languishes in federal

 custody due in large part to the government’s recalcitrance in providing court

 ordered discovery.

       Because the circumstances presented have such important implications in

 terms of prejudice and curability, this Court should dismiss the Indictment with

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 prejudice. To allow this kind of behavior would violate Mr. Ramadan’s rights under

 Rule 16, the Due Process Clause of the Fifth Amendment, and the Confrontation and

 Compulsory Process Clauses of the Sixth Amendment, and reward the Government

 for all of the discovery violations it has committed. For all of these reasons the Court

 should dismiss the indictment with prejudice.


                                         Respectfully submitted,

                                         FEDERAL COMMUNITY DEFENDER
                                         EASTERN DISTRICT OF MICHIGAN


                                         s/Andrew Densemo
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 Dated: March 25, 2019




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                 CR. NO. 17-20595
                     Plaintiff,
 v.                                              HON. MARIANNE O. BATTANI

 YOUSEF RAMADAN,

                     Defendant.
                                        /

                           CERTIFICATE OF SERVICE

       I, hereby certify that on March 25, 2019, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system which will send notification

 of such filing to the following:

                                    HANK MOON
                                    BEN COATS
                                    United States Attorney’s Office
                                    211 W. Fort Street, Suite 2001
                                    Detroit, Michigan 48226

                                            FEDERAL COMMUNITY DEFENDER
                                            EASTERN DISTRICT OF MICHIGAN


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